Case
Case 1:17-cv-08142-AJN
     1:17-cv-08142-AJN Document
                       Document 45-3
                                41-4 Filed
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            EXHIBIT C
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                 Case 1:17-cv-08142-AJN
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07 February 2019
Dear Customer,
This is a proof of delivery / statement of final status for the shipment with waybill number 2732065556.
Thank you for choosing DHL Express.
www.dhl.com


 Your shipment 2732065556 was delivered on 07 February 2019 at 09.55

 Signed                 SERVICE COURRIER MME                   Destination Service Area        LIBREVILLE
                                                                                               GABON

 Signature                                                     Shipment Status                 Delivered




                                                               Piece ID(s)                     JD014600006699455666



 Additional Shipment Details
 Service                EXPRESS WORLDWIDE nondoc               Origin Service Area             NEW YORK
                                                                                               UNITED STATES OF AMERICA
 Picked Up              04 February 2019 at 16.42
                                                               Shipper Reference               8115-1
